{¶ 22} I respectfully dissent from the majority's decision reversing the suppression of evidence obtained in the search of appellant's car. Officer Haines testified that Hoover's truck was inventoried and impounded, but Hoppert's car was left at the scene. The evidence found in Hoppert's car was not found as a result of a valid search incident to arrest. Officer Haines testified that Hoover was arrested for the heroin spoon found in the truck, but Hoppert was detained, not arrested. Looking at the totality of the circumstances of this particular incident, the police had no reasonable suspicion that Hoppert was engaged in criminal activity. Therefore, they had no lawful reason to detain Hoppert while a drug dog was summoned to sniff around her car. I find no error in the trial court's suppression of the evidence in this case and would therefore affirm.